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 9    60 South Sixth Street, Suite 3200
      Minneapolis, MN 55402                         Attorneys for Defendant
10    Tel: (612) 335-5070 / Fax: (612) 288-9696     JUNIPER NETWORKS, INC.
11
      Attorneys for Plaintiff, FINJAN, INC.
12

13                                UNITED STATES DISTRICT COURT
14               NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
15   FINJAN, INC.,                                   Case No. 3:17-cv-05659-WHA
16                   Plaintiff,                      JOINT STATUS REPORT OF
17                                                   AUGUST 23, 2021
            v.
18
     JUNIPER NETWORKS, INC.,                         U.S. District Judge William H. Alsup
19                                                   Courtroom 12
                     Defendant.
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                                                      Case No. 3:17-cv-05659-WHA
                             JOINT STATUS REPORT OF AUGUST 23, 2021
 1          Pursuant to the Court’s Order of July 26, 2021 (D.I. 669), Finjan, LLC and Juniper Networks,

 2   Inc. provide the following status report:

 3          1.      This is the parties’ first 28-day report since the Court’s Order.

 4          2.      Regarding reimbursement to the special master: The parties jointly certify that
 5   they have made the payments required by the Court to reimburse the special master for services

 6   rendered in this case. No later than August 5, 2021, Finjan, LLC and Juniper Networks, Inc. each

 7   paid $7,980.00 to the law firm of BraunHagey & Borden LLP. The parties jointly understand that

 8   no further payments are owed in connection with reimbursing the special master.

 9          3.       Regarding the Court’s order on attorney fees: Finjan plans to appeal the Court’s
10   Order of July 26 as to attorney fees, and plans to move under Rule 62(b) for a stay, pending appeal,

11   against execution of that aspect of the Order. As security for such a stay, Finjan has proposed to

12   Juniper that Finjan fund an escrow account with an amount equaling 125% of the Court’s award,

13   establishing the account such that Juniper may draw on it should Finjan exhaust its appeal rights

14   without relief and should the parties not arrange alternative payment. Juniper has agreed to Finjan’s

15   proposal, provided the parties are able to agree on mutually acceptable terms for the escrow account.

16   The parties are currently discussing those terms.

17          4.      The parties will file their next 28-day status report no later than September 20, 2021.

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19   Dated: August 23, 2021                      Respectfully Submitted,

20                                               By: /s/ Robert Courtney
                                                     Juanita R. Brooks (CA SBN 75934) brooks@fr.com
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                                                     Frank J. Albert (CA SBN 247741) albert@fr.com
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                             JOINT STATUS REPORT OF AUGUST 23, 2021
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 7                                                    By: /s/ Jonathan S. Kagan
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                                                      Attorney for Defendant
17                                                    JUNIPER NETWORKS, INC.

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19          Pursuant to Civ. Local Rule 5.1(i)(3) regarding signatures, I attest under penalty of perjury
20   that concurrence in the filing of this document has been obtained from counsel for Juniper Networks,
21   Inc.
22   Dated: August 23, 2021                           FISH & RICHARDSON P.C.
23

24                                                    By: /s/ Robert Courtney
                                                          Robert Courtney
25

26                                                    Attorney for Plaintiff
                                                      FINJAN LLC
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                                               2            Case No. 3:17-cv-05659-WHA
                             JOINT STATUS REPORT OF AUGUST 23, 2021
